     Case 4:20-mj-01069-DLC Document 60 Filed 01/21/21 Page 1 of 2



                                                                   Paris, 21st January 2021


Dear Mrs Russo,

Thank you so much for agreeing to help.

While looking through the docket of case 20‐mj‐1069‐DLC, we found lots of references to
photos Japan sent as part of the case they made to have Michael and Peter Taylor extradited
to their country for their role in the escape of Carlos. But we could not find them. These
are images taken from CCTV cameras and they were apparently compiled in a 67‐page
Excel document containing 266 images.

Most references to them are in the document 49 ‐ and in particular in the below paragraph
where they are given numbers:

Data analyzed (1) Images from a security camera installed at Kansai International Airport, 1
Senshu‐kuko Kita, Izumisano‐shi, Osaka (Images Nos. 1 — 8 and 17 — 24) (2) Images from a
security camera installed at the security check room of the Premium Gate Tamayura,
Terminal 2 Building of Kansai International Airport, 13 Senshu‐kuko Naka, Tajiricho, Sennan‐
gun, Osaka (Images Nos. 9— 16 and 25— 29) (3) Images from a security camera installed
near the entrance of the Premium Gate Tamayura, Terminal 2 Building of Kansai
International Airport, 13 Senshu‐kuko Naka, Tajiricho, Sennan‐gun, Osaka (Images Nos. 30
— 34) (4) Images from security cameras installed at Star Gate Hotel Kansai Airport, 1 Rinku
Orai Kita, Izumisano‐shi, Osaka (Images Nos. 35 — 133) Tokyo Metropolitan Police
Department EX‐Taylor, M.‐00051 Case 4:20‐mj‐01069‐DLC Document 49‐2 Filed 08/17/20
Page 52 of 60 Form of Attachments to Record of Statements (5) Images from security
cameras installed at JR Tokai Shin Osaka Station, 5‐16‐1 Nishinakajima, Yodogawa‐ku,
Osaka‐shi, Osaka (Images Nos. 134— 157) (6) Images from security cameras installed in JR
Tokai Nozomi No. 162 (Images Nos. 158 — 174) (7) Images from security cameras installed
at JR Tokai Shinagawa Station, 2‐1‐78 Konan, Minato‐ku, Tokyo (Images Nos. 175 — 194) (8)
Images from security cameras installed near a corridor (Jiyu Tsuro) at JR Shinagawa East
Building, 2‐18‐1 Konan, Minato‐ku, Tokyo (Images Nos. 195 —206) (9) Images from security
cameras installed at 3‐26‐27 Takanawa, Minato‐ku, Tokyo (Images Nos. 207 —218)
(10)Images from security cameras installed near the taxi stand at JR Shinagawa East
Building, 2‐18‐1 Konan, Minato‐ku, Tokyo (Images Nos. 219 — 239) (11)Images from security
cameras installed at Grand Hyatt Tokyo, 6‐10‐3 Roppongi, Minatoku, Tokyo (Images Nos.
240 — 266)

Elsewhere in that document, we found the numbers of the exhibits where these photos
might be located

The acts of Michael Taylor and Zayek after entering Japan are almost seamlessly traceable by
surveillance cameras. Especially, they have been recorded in the surveillance cameras
installed in Kansai International Airport, Star Gate Hotel, the bullet train, Shinagawa Station,
Grand Hyatt Tokyo [Exhibit #1, #3, #4]. In addition, there are clear images of their faces
recorded by the drive recorder and surveillance cameras installed in the taxi and the private
        Case 4:20-mj-01069-DLC Document 60 Filed 01/21/21 Page 2 of 2



lounge in Kansai International Airport respectively [Exhibit #1, #3 ], and the faces on the
images resemble the pictures on their passports and pictures taken when they entered
Japan [Exhibit #10, #12].

On December 29, 2019, the acts of a man such as going to Grand Hyatt Hotel from around
Ghosn's house on foot, entering Room 933 of Grand Hyatt Hotel, leaving the room together
with the men who appear to be Peter Taylor, Michael Taylor and Zayek, going to Osaka by
the bullet train and entering Room 4609 of Star Gate Hotel, are almost seamlessly traceable
by the surveillance cameras. Specifically, surveillance cameras installed on the street from
around Ghosn's house to Grand Hyatt Tokyo, in Grand Hyatt Tokyo, in Shinagawa Station,
inside the bullet train, in Shin Osaka Station and in Star Gate Hotel have recorded his
acts [Exhibit #2, #3]. Concerning these situations, there are clear images of the man's face
without knit cap and mask recorded by the drive recorder of the taxi going to Star Gate Hotel
from Shin Osaka Station [Exhibit #3 (picture #141)], which closely resemble Ghosn's face.

I thank you in advance for all your help in docketing these. Please do not hesitate to ask if
you need further information.


Best,


Delphine Jaudeau
Producer
Premières Lignes
